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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 22-22189-CIV-KING/DAMIAN

      ARNALDO L. MARTIN,

              Plaintiff,
       vs.

       DORAL LINCOLN, LLC,

             Defendant.
      ____________________________________/

         DEFENDANT’S MOTION TO COMPEL ARBITRATION OR, ALTERNATIVELY,
              TO DISMISS FOR LACK OF SUBJECT-MATTER JURISDICTION
                         PURSUANT TO FED. R. CIV. P. 12(b)(1)

             Defendant, DORAL LINCOLN, LLC (“Doral Lincoln”), by and through undersigned

      counsel and pursuant to Fed. R. Civ. P. 12(b)(1), submits this Motion to Compel Arbitration or,

      Alternatively, to Dismiss for Lack of Subject-Matter Jurisdiction Pursuant to Fed. R. Civ. P.

      12(b)(1), and in support state as follows:

                                           I.      INTRODUCTION

             Plaintiff, ARNALDO L. MARTIN, (“Martin”) filed his single-count Complaint on July

      15, 2022, alleging that Doral Lincoln violated the Federal Consumer Leasing Act and Regulation

      M of the Consumer Financial Protection Bureau with regards to certain disclosures provided to

      Martin concerning the terms of his lease. See Compl. [D.E. 1]. Attached to Martin’s Complaint is

      Exhibit A, a partial copy of the underlying Florida Motor Vehicle Lease Agreement between the

      parties. See Compl., Ex. A. Notably absent however from Martin’s Complaint is the entire




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      underlying agreement, which contains a binding and enforceable arbitration provision between

      Martin and Doral Lincoln.1

               It is well-settled federal law to enforce arbitration agreements between parties when a

      facially valid arbitration agreements exists, such as it does here. Given the existence of a binding

      and enforceable arbitration agreement, the Court must compel this case to arbitration or,

      alternatively, dismiss this action for lack of subject-matter jurisdiction.

                           II.    FACTUAL AND PROCEDURAL BACKGROUND

               In his Complaint, Martin admits that he entered into the Lease Agreement with Doral

      Lincoln for a 2019 Lincoln Nautilus (“Vehicle”). See Compl.¶¶5-6. Martin further alleges that he

      exercised his option to purchase the Vehicle, but was charged additional fees not properly

      disclosed nor included in the purchase option provision of the Lease Agreement. See Compl. ¶¶11-

      16. The Lease Agreement contains a binding arbitration provision that either party “…may choose

      at any time, including after a lawsuit is filed, to have any Claim related to this contract decided by

      arbitration.” See Declaration, Ex. A at p. 4. The arbitration provision incorporates the arbitration

      rules of the American Arbitration Association (“AAA”) or any other organization, subject to Doral

      Lincoln’s approval. See Id. Moreover, the arbitration provision is subject to the Federal Arbitration

      Act, 9 U.S.C. §§1, et seq. (“FAA”). Indeed, Martin explicitly agreed to be bound by the arbitration

      provision contained within the Lease Agreement. See Id. at p. 2. By this Motion, Doral Lincoln

      now seeks an order compelling Martin to arbitration, or, alternatively, dismissing the case for lack

      of subject-matter jurisdiction under Rule 12(b)(1).



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       In support of this Motion, Doral Lincoln relies on the contemporaneously filed Declaration of Robert J. Kussell (the
      “Declaration”) and the complete Florida Motor Vehicle Lease Agreement (“Lease Agreement”) attached as exhibit 1.
      The Court may properly consider such evidence on a motion to compel arbitration under the Federal Arbitration Act
      and Fed. R. Civ. P. 12(b)(1). See Baptist Hosp. of Miami, Inc. v. Medica Healthcare Plans, Inc., 376 F. Supp 3d 1298,
      1303 (S.D. Fla. 2019); Schriever v. Navient Solutions, Inc., 2014 WL 7273915, at *2 (M.D. Fla. Dec. 19, 2014);
      Mamani v. Sanchez Berzain, 636 F. Supp. 2d 1326, 1329 (S.D. Fla. 2009).

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                                     III. PROCEDURAL STANDARD

             The FAA holds arbitration agreements on equal footing with other contracts and reflects a

      “liberal federal policy favoring arbitration.” CompuCredit Corp. v. Greenwood, 565 U.S. 95, 98

      (2012). Moreover, the FAA requires courts to “rigorously enforce agreements to arbitrate” Dean

      Witter Reynolds Inc. v. Byrd, 470 U.S. 213, 221 (1985). Additionally, the FAA should be applied

      to cases when the claims at issue are federal statutory claims, such as the subject action.

      Shearson/American Express Inc. V. McMahon, 482 U.S. 220, 226 (1987).

             Section 2 of the FAA provides that written arbitration agreements in contracts “shall be

      valid, irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the

      revocation of any contract.” Federal Arbitration Act, 9 U.S.C. § 2. “Consistent with the FAA’s

      text, courts must rigorously enforce arbitration agreements according to their terms.” Walthour v.

      Chipio Windshield Repair, LLC, 745 F.3d 1326, 1329-30 (11th Cir. 2014) (internal quotations and

      citations omitted).

             Section 3 of the FAA requires that when a court concludes an issue is “referable to

      arbitration under an agreement in writing for such arbitration” the court “shall on application of

      one of the parties stay the trial of the action until such arbitration has been had in accordance with

      the terms of the agreement.” 9 U.S.C. § 3. However, when a case is subject to binding arbitration,

      it is within the district court’s discretion whether to stay or dismiss a case. Envision HealthCare

      Corp. v. United HealthCare Ins. Co. 311 F. Supp. 3d 1322, 1325 (S.D. Fla. 2018) (finding dismissal

      without prejudice appropriate where case was pending for less than two months and the alleged

      violation occurred within the last five years, such that the statute of limitations would not be

      implicated); Wolfe v. Carnival Corp. 423 F. Supp. 3d 1347, 1349 (S.D. Fla. 2019) (stating that




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      when all the issues in the case are subject to arbitration, the district court has the discretion to

      dismiss a case, rather than stay it).

              Finally, courts reviewing an arbitration agreement under the FAA must compel arbitration

      upon a showing that (1) a written enforceable arbitration agreement exists between the parties; and

      (2) the claims before the court fall within the scope of that agreement. See Anderson v. Am. Gen.

      Ins., 688 F. App’x 667, 669 (11th Cir. 2017); see also 9 U.S.C. §2.

                                       IV. MEMORANDUM OF LAW

      A.      A Written Enforceable Arbitration Agreement Exists Between the Parties

              A preliminary question this Court must decide is whether the parties formed an agreement,

      and whether such agreement includes arbitration. See Mitsubishi Motor Corp. v. Soler Chrysler-

      Plymouth, Inc. 473 U.S. 614, 626 (1985). Florida state law on contract formation controls and

      applies here. See First Options of Chi., Inc. v. Kaplan 514 U.S. 938, 944. In Florida, formation of

      a contract requires the familiar elements of “(1) offer; (2) acceptance; (3) consideration; and (4)

      sufficient specification of the essential terms.” Vega v. T-Mobile USA Inc., 564 F.3d 1256, 1272

      (11th Cir. 2009) (citing St. Joe Corp. v. McIver, 875 So.2d 375, 381 (Fla. 2004)). A cursory review

      of the Complaint shows that Martin admits to having entered into the Lease Agreement with Doral

      Lincoln. See Compl. ¶¶5-6; See also Declaration, Ex. A at p. 2.

              Therefore, as a threshold matter, once Martin signed the Lease Agreement, he

      unequivocally manifested his acceptance of its terms, including the explicit acknowledgment to be

      bound by arbitration. See Id.; see also Lujan v. Carnival Corp., No. 11-cv-23826-CIV-SCOLA, at

      *3 (S.D. Fla. Apr. 2, 2012) (“Lujan’s signature manifested his asset to the entire Agreement, and

      he is bound by it.”); Williams v. MetroPCS Wireless, Inc. No. 09-22890-CIV-

      ALTONAGA/BROWN, at *7 (S.D. Fla. Jan 5, 2010) (“Under normal circumstances, an arbitration



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      provision within a contract admittedly signed by the contractual parties is sufficient to require the

      district court to send any controversies to arbitration.” (internal quotation marks omitted)). As

      such, a written, enforceable arbitration agreement exists between Martin and Doral Lincoln.

      B.      The Claim Before the Court Falls Within The Scope of the Arbitration Agreement

              Martin alleges that Doral Lincoln has violated the Federal Consumer Leasing Act, 15

      U.S.C. §1667a and regulation M of the Consumer Financial Protection Bureau, 12 C.F.R. §1013

      et seq., by failing to disclosure additional fees and charges in the purchase option provision of the

      Lease Agreement. See Compl. §§17-32.

              The arbitration provision within the Lease Agreement expressly states that either party

      “…may choose at any time, including after a lawsuit is filed, to have any Claim related to this

      contract decided by arbitration.” The term “Claim” is further defined as “…any claim, dispute, or

      controversy” which include but are not limited to “1) Claims in contract, tort, regulatory or

      otherwise; 2) Claims regarding the interpretation, scope, or validity of this provision or arbitrability

      of any issue except for class certification; 3) Claims between you and us, our employees, agents,

      successors, assigns, subsidiaries, or affiliates; 4) Claims arising out of or relating to your

      application for credit, this contract, or any resulting transaction or relationship, including that with

      the dealer, or any such relationship third parties who do not sign this contract.”. .” See Declaration,

      Ex. A at p. 4.

              Therefore, the alleged violation(s) include claims in contract, claims in regulatory action,

      claims between Martin and Doral Lincoln, claims arising out of the Lease Agreement, and/or

      claims arising out of or relating to any resulting transaction between the parties. There can be no

      doubt that a written enforceable arbitration agreement exists between the parties and that Martin’s




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      allegations fall within the scope of arbitration agreement. Therefore, the Court must compel the

      parties to arbitration.

      C.      The Court Should Dismiss the Case Without Prejudice

              The Eleventh Circuit and Southern District of Florida have routinely held that “motions to

      compel arbitration are generally treated as motions to dismiss for lack of subject matter jurisdiction

      pursuant to Fed. R. Civ. P. 12(b)(1). See Sinclair v. Wireless Advocates, LLC, No. 20-CV-60886-

      RAR, at *7 (S.D. Fla. Nov. 12, 2020); see also Barney v. Grand Caribbean Cruises, Inc. No. 21-

      CV-61560-RAR, at *2 (S.D. Fla. Jan 17, 2022); Babcock v. Neutron Holdings, Inc., 454 F.Supp.3d

      1222, 1228 (S.D. Fla. 2020) (citing McElmurray v. Consol. Gov't of Augusta-Richmond Cty., 501

      F.3d 1244, 1251 (11th Cir. 2007)).

              When a case is subject to binding arbitration, as it is within the instant action, the Court

      has discretion whether to stay or dismiss the case once arbitration has been ordered. See Envision

      HealthCare Corp. v. United HealthCare Ins. Co. 311 f. Supp. 3d 1322, 1325 (S.D. Fla. 2018). The

      Envision Court found that dismissal without prejudice was appropriate when the case was pending

      for less than two months and the alleged violation occurred within the timeframe of the statute of

      limitations.

              Moreover, the Court has discretion to dismiss the case when all of the alleged violations

      and issues within the pending case are subject to binding arbitration. See Wolfe v. Carnival Corp.,

      423 F. Supp. 3d 1347, 1349 (S.D. Fla. 2019); see also Jackson v. Cintas Corp., 425 F.3d 1313,

      1317 (11th Cir. 2005); Senior Servs. of Palm Beach LLC v. ABCSP Inc., 12–80226–CIV, 2012

      WL 2054971 (S.D. Fla. Jun. 7, 2012) (dismissing the case rather than staying it because all claims

      in the action were subject to arbitration).




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             Here, Martin’s Complaint was filed on July 15, 2022 and has been pending less than one

      month. See Compl. The alleged violation giving rise to his cause of action allegedly took place on

      February 2022. See Compl. ¶¶10-16. Additionally, Martin’s entire cause of action falls within the

      definition of “Claims” as provided in the arbitration provision. See Declaration, Ex. A at p. 4.

      Therefore, staying the action pending arbitration would be a waste of judicial resources, as all of

      Martin’s claims would be resolved through the arbitration process.

                                             V.    CONCLUSION

             Based on the foregoing reasons and authorities, Defendant Doral Lincoln respectfully ask

      the Court to compel all of Martin’s claims to arbitration or, alternatively, dismiss this case for lack

      of subject-matter jurisdiction.

             Dated: August 31, 2022

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                                      CERTIFICATE OF SERVICE

             WE HEREBY CERTIFY that on August 31, 2022, a true and correct copy of the
      foregoing was served via electronic mail to all counsels of record.


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